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9 cENTRAL msTRlcT op CALIFORNLA
10 cHRIs PRINC!PE, Case No: 81 17~cv~00608
ll Plaintiff,
17 DECLARATIGN oF LAYLA
' V~°'~ BEGUM IN SUPPGRT 0F
13 TIMQTHY GLEN CURRY AjK/A DEFENDANT TIMOTHY GLEN
TIMOTHY TAYSHUN, CURRY’s 0PPOSIT10N To
14 PLAINTIFF’S MOTION FOR
15 Defe“d“’“- PRELIMINARY INJUNCHON
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DECLARAT¥ON OF L-ALA BECUM [:\’ SUPPORT OF DEFENDANT 'l`lMOTH\’ CL£;\' CURRY’S
OP`POSIT{ON T`O PLA!N]TFF’S MOTION FOR PRELIMINARY lNJUNCTION

 

 

 

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4 nECLARATIoN oF LAYLA BEGUM

5 I, Layla Begum, declare:

: I am a resident of the city of London in the United Kingdom and am over
8 the age of 18. The facts stated in this declaration are within my personal

9 knowledge except those stated to be on information and beliet`, and, if called upon,
10 l could and would competently testify to them.

ll 1. I was defrauded by OneCoin in the amount of£54,200. Tliis amount
:: represented 20 years of savings, and is a devastating loss.

14 2. 1 went to meetings set up by OneCoin. 1 was told that OneCoin

15 cryptocurrency would increase in value, and was a great investment opportunity In
16 order to get tokens to mine the cryptocurrency, l had to pay for education

17 packages l watched videos featuring people endorsing OneCoin as an investment
18 opportunity and it looked genuine Saleh Ahmed my leader convinced me my

;: returns would be greater than my deposits of £54,200.

21 3. Eventually, l grew skeptical about OneCoin and was not seeing a

22 return on my investment The cryptocmency cannot be used, and 1 have nothing to
23 show for my investment l have no paperwork or genuine account, as the Onecoin
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2 promoter gave me accounts with no “gift codes”/' access l asked for my money

3 back, but my money was not returned

4 4. l was mislead by Onecoin promoter Saleh Ahrned that l would make
: quick and easy money on this. Saleh Ahmed lied to me about the business model
7 and fraudulently took my £54,200.00. He is heavily promoting Onecoin and has

8 You'l`ube videos and social media promoting Onecoin. l have gone to the

9 authorities about this, and am waiting to see if there is some way to get my money
10 back l have filed a Case with Action Fraud - City of London Police (Case Number
l 1 NFRC170301789730)

:: 5. l feel that OneCoin promotors take advantage of vulnerable people,
14 and cons people out of money by misleading them about OneCoin’s multilevel

15 marketing scheme The only way to make money is by introducing people to

16 Onecoin and telling them information which isn’t reliable While Recruiters and
17 Leaders mislead us that we are investing in “ciyptocurrency,” in the fine print

:: (which no one reads), it says it is just an ‘educationai package’ we bought Who
20 would buy that? That is not what l was “sold!” But in multi-level marketing you
21 only make money receiving commission on people coming in with money. And the
22 more people you “sell” to and bring in, the more money you make The more

23 people they sell to, the more money they make and the more commission you

:: receive on them, as Well. My Onecoin Leader Saleh Ahmed wanted to hit target +
26 ”ECL“%¥?&I£S§B%M£§325¥:§§%§§%?1?§’§£§`°&%§§$3~°“““Y'5
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2 become a Top Rank. MLM is about recruiting people as a pyramid lt’s very

3 unethical, immoral, and deceiving Mostly uneducated people with no technical

11 background are targeted People join based on trust and most leaders encourage

: people to invest more than the minimum This way the leaders make commission
7 6. OneCoin even falsely represented that they were a Shariah compliant
8 company, however, l later found out that OneCoin was not Shariah compliant. This
9 broke my heart to the extent which Onecoin would use Islamic Law to promote

10 and encourage Muslim Leaders to do this to other muslims Many people do not

1 1 know how this is not Sharia compliant. They even follow their leaders like sheep,
:: as they respect their Leaders and blindly follow them.

14 7. Tim Curry is a genuinely kind person helping people that have fallen
15 victim to the OneCoin scam. He is also warning those that might be lured into its
16 scheme l wish lhad read one of Mr. Curry’s articles (who is more well-known

111 online as Tirn 'l`ayshun), or seen some of the interesting debates in economics and
:: cryptocurrency which he has gotten into with various people, including those who
20 call themselves leaders, or even just heard of him before OneCoin took my

21 money. l Wish I had contacted him, did the FCA check and done more research

22 8. Today l feel that Mr. Curry is guiding me to calm my depression even
23

though l lost faith in getting my money back. Mr. Curry has been helpiiil and is

trying to challenge the scamrners and preventing people from joining this scam.

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26 DECLARA'I`ION OF LAYLA BEGUM lN SUPPORT OF DEFENDANT TIMOTHY GLEN CURRY’S
OPPOSITION TO PLAMTFF’S MOTION FOR PREMWHNARY LNJUNCI'ION

 

 

 

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l declare under penalty of perjury under the laws of the State of Califomla
that the foregoing is true and correct Executed London, the United Kingdom, on

November /O , 2017.

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DECLARAT!ON OF LAYLA BEGUM !N SUPPORT OF DEFENDANT 'lTMOTHY GLEN CURRY'S
26 OPPOSITION 'I`O PLAlNl'I`FF’S MOTION FOR PREI.MNARY lNJUNCTION

 

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